    Case 4:06-cr-20436-MAG-WC ECF No. 51, PageID.162 Filed 10/16/06 Page 1 of 2
O AO 472 (Rev. 12/03) Order of Detention Pending Trial


                                         UNITED STATES DISTRICT COURT
                         EASTERN                                       District of                                    MICHIGAN
         UNITED STATES OF AMERICA
                    V.                                                              ORDER OF DETENTION PENDING TRIAL
          KEYSA MARIE SMITH,                                                      Case      4:06-CR-20436-5FL
                           Defendant
     In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require
the detention of the defendant pending trial in this case.
                                                                 Part I—Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense G stat
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
         G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
         G an offense for which the maximum sentence is life imprisonment or death.
         G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                                  .
         G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
             § 3142(f)(1)(A)-©, or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
         for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                               Alternative Findings (A)
   (1)   There is probable cause to believe that the defendant has committed an offense
              for which a maximum term of imprisonment of ten years or more is prescribed in                                                         .
         G    under 18  U.S.C. §  924©.
   (2)   The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
         the appearance of the defendant as required and the safety of the community.
                                                               Alternative Findings (B)
X (1)    There is a serious risk that the defendant will not appear.
  (2)    There is a serious risk that the defendant will endanger the safety of another person or the community.




                                              Part II—Written Statement of Reasons for Detention
     I find that the credible testimony and information submitted at the hearing establishes by        clear and convincing evidence X a prepon-
derance of the evidence that
detention is appropriate in this matter. Based upon the information presented at the hearing, it appears that the Defendant in this matter
lacks a suitable place in which to reside during the pendency of this case. The home where the defendant proposes to reside could pose an
inappropriate living environment for her. It further appears that the Defendant had attempted to evade law enforcement officials attempting to
arrest her. Therefore, because of the issue of where the Defendant should reside, her attempt to evade arrest, as well as the amount of illegal
substances involved in this matter, I find that the Defendant poses a risk of flight should she be released on bond. Accordingly, the Defend-
ant shall be detained without bond pending trial. The issue of bond may be raised again should here circumstances change. IT IS SO
ORDERED.
                                                      Part III—Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility
separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be
afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney
for the Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an
appearance in connection with a court proceeding.


  Date: October 16, 2006
                                                                                     s/ Wallace Capel, Jr.


                                                                                 WALLACE CAPEL, JR. U.S. MAGISTRATE JUDGE
                                                                                           Name and Title of Judge
*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or ©
Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).
            Case 4:06-cr-20436-MAG-WC ECF No. 51, PageID.163 Filed 10/16/06 Page 2 of 2

                                                CERTIFICATE OF SERVICE

I hereby certify that on October 16, 2006 , I electronically filed the foregoing paper with the Clerk of the Court using the ECF
system which will send such notification of such filing to the following: Mark C. Jones, Assistant U.S. Attorney , and I hereby
certify that I have mailed by United States Postal Service/hand delivered the paper to the following non-ECF participants: Daniel
VanNorman Esq., 350 N. Court St., Ste. 203, Lapeer, MI 48446, United States Marshal Service, 600 Church St., Flint, MI,
48502, Pretrial Services Officer, 600 Church St., Flint, MI 48502.

                                                                                  s/James P. Peltier
                                                                                  James P. Peltier
                                                                                  Courtroom Deputy Clerk
                                                                                  U.S.District Court
                                                                                  600 Church St.
                                                                                  Flint, MI 48502
                                                                                  810-341-7850
                                                                                  pete peltier@mied.uscourts.gov
